Case 2:21-cv-03613-GRB-JMW Document 15 Filed 05/20/22 Page 1 of 2 PageID #: 56




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  JUAN MARTINEZ, JOSE PIMENTAL, CARLOS
  CONTRERAS, EFRAIN REYES and JOWANY
  CASTILLO,

                                                    Plaintiffs, Case No. 21-cv-
                                                                03613(GRB)(JMW)
                           - against -

  FELIKS & SON STORAGE TANK CORP., FELIKS &
  SON SERVICES, LLC AND FELIKS SWIERZEWSKI,

                                                  Defendants.


           NOTICE OF MOTION FOR DEFAULT JUDGMENT PURSUANT TO
                 FEDERAL RULE OF CIVIL PROCEDURE 55(b)(2)

        PLEASE TAKE NOTICE that, on a date and time to be determined by the Court, the

 undersigned, attorneys for plaintiffs shall move before the Honorable James M. Wicks, United

 States Magistrate Judge, at the United States District Court, Eastern District of New York, 100

 Federal Plaza, Central Islip, NY 11717 for a default judgment against defendants Feliks & Son

 Storage Tank Corp. and Feliks & Son Services, LLC, pursuant to Federal Rule of Civil

 Procedure 55(b)(2). In support of this motion, Plaintiff submits the annexed Memorandum of

 Law in Support of Plaintiffs Motion for Default Judgment Pursuant to Federal Rule of Civil

 Procedure 55(b )(2), the Declaration of Steven J. Moser in support thereof, with exhibits thereto,

 the Declarations of Juan Martinez, Jose Pimentel, Carlos Contreras, Efrain Reyes and Jowany

 Castillo, and the Declaration of Translation of Shirley Navarro Losito.
Case 2:21-cv-03613-GRB-JMW Document 15 Filed 05/20/22 Page 2 of 2 PageID #: 57




 Dated: Huntington, New York
        May 20, 2022

                                    Respectfully submitted,
                                    MOSER LAW FIRM, P.C.




                                    Steven John Moser, Esq. (SM1133)
                                    5 East Main Street
                                    Huntington, NY 11743
                                    (516) 671-1150
                                    steven.moser@moserlawfirm.com
                                    Attorneys for Plaintiff
